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                EXHIBIT 39
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                                                                     June 1, 2018



         Thomas W. Prevoznik
         Diversion Control Division
         Associate Section Chief,
          Pharmaceutical Investigations Section
         8701 Morrissette Drive
         Springfield, Virginia 22152

        Dear Mr. Prevoznik:

        This letter responds to your email of May 18, 2018 relating to Cardinal Health. I've copied
        below the questions posed in your email with answers to the same. We'd like the opportunity to
        meet with DEA to discuss this matter in greater detail following your review of the information
        below.

                1.     Identify the time period or time periods during which the-above noted reporting
                       fai lures occurred.
        The vast majority occurred during the time period 2012-2015. Only 23 have occurred since
        January 1, 2017. None of the orders from any time period shipped.

                ')     Identify with as much specificity as possible the number of orders your client
                       failed to report, broken down by Cardinal registration number(s) by calendar year.
                       If you have orders for which your client cannot provide the requested information,
                       please provide the most specific approximation that you can, as well as an
                       explanation of how you anived at this approximation.
        Of 220,488 controlled substances orders that exceeded our internal threshold limits and were not
        cleared to ship from May 2012 to January 2017, 206,360 were reported to DEA as suspicious.
        That leaves 14, 128 instances where orders exceeded our internal threshold limits and were not
        cleared to ship but were not reported to DEA. None of the 14,128 orders shipped. Many of the
        14, 128 orders exceed internal threshold limits related to Cardinal Health's use of sub-base codes
        as an additional basis for suspicious order reporting, an issue we'd like to discuss in more detail
        with DEA at the appropriate time.




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        June 1, 2018
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                   3.           How was Cardinal able to successfully submit some suspicious orders reported to
                                DEA during this period while these were not?

        Based on the figures identified above, Cardinal Health's system has been overwhelmingly
        successful in properly reporting to DEA orders that exceeded our internal threshold levels and
        were not shipped. The inadvertently unreported orders represent only a small percentage. And
        most importantly, even when reporting errors occuned, the orders were not shipped.

                    4.          Are these non-reported SORS in addition to the non-reported SORS that were part
                                of the December 2016 Settlement Agreement? If so, how were these SORS
                                missed by Cardinal's system, but yet Cardinal nonetheless "blocked" them from
                                being shipped as you claim?

        As part of the 2016 Settlement Agreement, DEA did not provide Cardinal Health with a
        comprehensive list of the orders upon which DEA allegations were based. Thus, we cannot
        definitely answer this question. The covered conduct and scope of the release in the Settlement
        Agreement speak for themselves. Even though these 14,128 orders were not reported to DEA,
        they nevertheless did not ship because the error occuned in the system responsible for reporting
        out to DEA unshipped orders that are potentially suspicious; there was no error in the system that
        is responsible for blocking the orders from shipping once they are identified as "suspicious".




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               5.      Please identify , with as much specificity and detail as possible, any and all
                       failure(s) that occurred in Cardinal Health's due diligence system that led to the
                       above-noted reporting failures.

        Cardinal I--Iealth does not believe there was inadequate due diligence on its customers. Cardinal
        Health's anti-diversion program incorporates knowledge of its customers (what we believe you
        are referring to as "due diligence") into its robust anti-diversion program. Cardinal Health has
        provided extensive presentations to DEA on its anti-diversion program and received no
        indication that its program was inadequate. In relation to the unreported orders, Cardinal
        Health's anti-diversion program functioned properly: orders that exceeded Cardinal Health's
        internal threshold limits were flagged, evaluated by the anti-diversion team, and blocked from
        shipment. Unfortunately, notwithstanding these effective anti -diversion efforts, issues arose in
        two environments within Cardinal Health's information technology system that prevented the
        automated reporting of the overwhelming rnaj ority of the unreported orders described above.
        But, as noted, the orders did not ship.

               6.      What, in Cardinal's view, was the root cause or cause of these failures? In your
                       response, please note whether any failures/deficiencies are attributable to
                       Cardinal's due diligence operations specific to a given registration or registration,
                       or, instead, whether any failures/deficiencies are attributable to Cardinal's due
                       diligence operation as a whole.

        After Cardinal Health identified the orders as in excess of Cardinal Health's internally
        established thresholds and blocked them from shipping, our anti-diversion team flagged them in
        our suspicious order monitoring system to be reported to DEA. Unfortunately, anomalies arose
        in Cardinal Health's IT system that prevented these particular unshipped orders from being
        reported to DEA, even though hundreds of thousands of other unshipped orders were reported.
        Cardinal Health has remediated the IT issues.

               7.      What steps has Cardinal Health taken to ensure that such a failure does not occur
                       in the future, and when were those steps taken?

        The IT anomaly responsible for the vast majority of unshipped but unreported orders was
        remediated through a system upgrade in 2015. Further IT enhancements have been made since
        that time, and Cardinal Health believes that all IT issues have been appropriately addressed.
        Cardinal Health is also implementing enhanced procedures to better prevent such instances going
        forward.




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               8.      Given your representation that most of the umeported orders were from the 2012-
                       2015 time frame, why, in April 2018, did your client "recently become aware" of
                       these orders?

        Cardinal Health became aware of the issue in 2018 as a result of data pulls for production to state
        attorneys general.

        Cardinal Health is prepared to transmit data regarding these orders, as requested. Please provide
        information on how to access to the portal link referenced in your email.

        Cardinal Health takes very seriously its obligations under the Controlled Substances Act. It has
        continually enhanced its suspicious order reporting system and will remain vigilant in doing so.
        I reiterate our request to meet with DEA to discuss these matters.

                                                              Very trnly yours,




                                                          V:1L.E.S7~1'.
                                                              Larry PvCote



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